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Fill in this information to identify your case:

United States Bankruptcy Court for the:

MIDDLE DISTRICT OF FLORIDA

Case number (if known)                                                      Chapter      11
                                                                                                                           Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           4/19
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Consolidated Land Holdings, LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  1275 W Granada Blvd., Ste 3B
                                  Ormond Beach, FL 33217-4000
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Volusia                                                         Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                  Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                   Partnership (excluding LLP)
                                   Other. Specify:




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Debtor    Consolidated Land Holdings, LLC                                                            Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                        Tax-exempt entity (as described in 26 U.S.C. §501)
                                        Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                        Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?
                                        Chapter 7
                                        Chapter 9
                                          Chapter 11. Check all that apply:
                                                              Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                  are less than $2,725,625 (amount subject to adjustment on 4/01/22 and every 3 years after that).
                                                              The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                  business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                  statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                  procedure in 11 U.S.C. § 1116(1)(B).
                                                              A plan is being filed with this petition.
                                                              Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                  accordance with 11 U.S.C. § 1126(b).
                                                              The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                  Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                  attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                  (Official Form 201A) with this form.
                                                              The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                        Chapter 12


9.   Were prior bankruptcy
     cases filed by or against
                                        No.
     the debtor within the last 8       Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                                Case number
                                                 District                                 When                                Case number


10. Are any bankruptcy cases            No
    pending or being filed by a
    business partner or an              Yes.
    affiliate of the debtor?
     List all cases. If more than 1,                                                                                                                Affiliate/Subsidi
     attach a separate list                      Debtor     See attached Appendix "A"                                     Relationship              ary
                                                            Middle District of
                                                            Florida, Orlando
                                                 District   Division                      When                            Case number, if known



Official Form 201                              Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                 page 2
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Debtor   Consolidated Land Holdings, LLC                                                         Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                      Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                       preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                      A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or
    have possession of any
                                 No
    real property or personal    Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                   Why does the property need immediate attention? (Check all that apply.)
                                            It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                             What is the hazard?
                                            It needs to be physically secured or protected from the weather.
                                            It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                             livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                            Other
                                           Where is the property?
                                                                            Number, Street, City, State & ZIP Code
                                           Is the property insured?
                                            No
                                            Yes. Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .       Check one:
    available funds
                                         Funds will be available for distribution to unsecured creditors.
                                         After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of          1-49                                           1,000-5,000                               25,001-50,000
    creditors                                                                    5001-10,000                               50,001-100,000
                                 50-99
                                 100-199                                        10,001-25,000                             More than100,000
                                 200-999

15. Estimated Assets             $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion
                                 $50,001 - $100,000                             $10,000,001 - $50 million                 $1,000,000,001 - $10 billion
                                 $100,001 - $500,000                            $50,000,001 - $100 million                $10,000,000,001 - $50 billion
                                 $500,001 - $1 million                          $100,000,001 - $500 million               More than $50 billion

16. Estimated liabilities        $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion
                                 $50,001 - $100,000                             $10,000,001 - $50 million                 $1,000,000,001 - $10 billion
                                 $100,001 - $500,000                            $50,000,001 - $100 million                $10,000,000,001 - $50 billion
                                 $500,001 - $1 million                          $100,000,001 - $500 million               More than $50 billion




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Debtor    Consolidated Land Holdings, LLC                                                          Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is trued and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      July 22, 2019
                                                  MM / DD / YYYY


                             X   /s/ Joseph G. Gillespie III                                              Joseph G. Gillespie III
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Manager




18. Signature of attorney    X   /s/ R Scott Shuker                                                        Date July 22, 2019
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 R Scott Shuker 984469
                                 Printed name

                                 Latham, Shuker, Eden & Beaudine, LLP
                                 Firm name

                                 PO Box 3353
                                 Orlando, FL 32802-3353
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     (407) 481-5800                Email address      rshuker@lseblaw.com; bknotice1@lseblaw.com

                                 984469 FL
                                 Bar number and State




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                        APPENDIX A

       Bankruptcy Cases Filed Concurrently by any
       Partner, Subsidiary or Affiliate of this Debtor



       Entity Name
1      Consolidated Land Holdings, LLC – LEAD CASE
2      Land Capital, LLC
3      100 Berlin Land, LLC
4      200 STL Land, LLC
5      204 Fox Land, LLC
6      205 Wolf Land, LLC
7      5500 Midland Land, LLC
8      Appleton Land, LLC
9      High Point Land, LLC
10     JNHRSA, LLC
11     JNHRSA 200 STL, LLC
12     JNHRSA 205 Wolf, LLC
13     JNHRSA Appleton, LLC
14     JNHRSA Billings, LLC
15     JNHRSA Cheyenne, LLC
16     JNHRSA City Center, LLC
17     JNHRSA Cromwell, LLC
18     JNHRSA Hartford, LLC
19     JNHRSA High Point, LLC
20     JNHRSA St. Joe, LLC
21     JNHRSA II, LLC
22     CC STL Holdings, LLC
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                                                               United States Bankruptcy Court
                                                                       Middle District of Florida
 In re      Consolidated Land Holdings, LLC                                                                           Case No.
                                                                                    Debtor(s)                         Chapter        11

                                                         LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

 Name and last known address or place of                             Security Class Number of Securities                         Kind of Interest
 business of holder
 Land Capital, LLC                                                   N/A              100%                                       Member
 1275 W Granada Blvd., Ste 3B
 Ormond Beach, FL 32174


DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I, the Manager of the corporation named as the debtor in this case, declare under penalty of perjury that I have read
the foregoing List of Equity Security Holders and that it is true and correct to the best of my information and belief.



 Date July 22, 2019                                                          Signature /s/ Joseph G. Gillespie III
                                                                                            Joseph G. Gillespie III

                       Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                        18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders
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                                                               United States Bankruptcy Court
                                                                     Middle District of Florida
 In re      Consolidated Land Holdings, LLC                                                              Case No.
                                                                                 Debtor(s)               Chapter    11




                                               VERIFICATION OF CREDITOR MATRIX


I, the Manager of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true and correct to

the best of my knowledge.




 Date:       July 22, 2019                                            /s/ Joseph G. Gillespie III
                                                                      Joseph G. Gillespie III/Manager
                                                                      Signer/Title




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Consolidated Land Holdings, LLC - - Pg. 1 of 1
Consolidated Land Holdings,Case
                            LLC    6:19-bk-04760   Doc 1   Filed 07/22/19   Page 8 of 8
1275 W Granada Blvd., Ste 3B
Ormond Beach, FL 33217-4000

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R Scott    Shuker
Latham,    Shuker, Eden & Beaudine, LLP
PO Box     3353
Orlando,   FL 32802-3353


Delaware Dept of Revenue
Attn: Director
540 S DuPont Hwy Ste 2
Dover, DE 19901


Florida Dept of Revenue
Attn: Executive Director
5050 W Tennessee St
Tallahassee, FL 32399-0140


Internal Revenue Service
Centralized Insolvency Ops
PO Box 7346
Philadelphia, PA 19101-7346


KCP Seven Ground, LLC
c/o Kawa Capital Partners
Attn: Jeremy Traster, Esq
21500 Biscayne Blvd, Ste 700
Aventura, FL 33180

Land Capital, LLC
1275 W Granada Blvd., Ste 3B
Ormond Beach, FL 32174



Volusia Cty Tax Collector
123 W Indiana Avenue #103
DeLand, FL 32720
